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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WISCONSIN


DANTE VOSS,

                                Plaintiff,
                                                               Case No. 3:18-cv-00540-jdp
        v.

MARATHON COUNTY, et al.,

                                Defendants.


                              DECLARATION OF RYAN M. WIESNER


        1.       I am the attorney of record for the CCS Professionals and make this declaration upon

personal knowledge and in support of their response to Plaintiff’s Request for “Accounting” of Medical

Records.

        2.       Counsel for the CCS Professionals received Plaintiff’s medical records and forwarded

those records to Plaintiff as follows:

                Lakeside Neuro.: records received on April 13 and sent to Plaintiff on April 27
                Gosse Chiropractor: records received on April 13 and sent to Plaintiff on April 27
                CCS HSU documents: records received on April 13 and sent Plaintiff on April 27
                Marathon County Jail: records received on April 20 and sent to Plaintiff on May 18
                 and June 2
                UW Health: records received on May 28 and sent to Plaintiff on June 2
                Ascension Mercy: records received on May 28 and sent to Plaintiff on June 2
                Thedacare Waupaca: records received on May 28 and sent to Plaintiff on June 2
                Marshfield Clinic: records received on May 15 and sent to Plaintiff on June 2
                Department of Corrections: records received on June 10 and sent to Plaintiff June 17

        3.       As of this date, counsel for the CCS Professionals have not received records requested

from Advanced Pain Management, Aspirus Health, or Valley Neuro.

        4.       The CCS Professionals have not requested records from Waupaca County Jail, and do

not intend to.
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         5.       The CCS Professionals received a Statement of No Records from Absolute Health

Chiropractic, which they forwarded to Plaintiff on April 27.

         6.       Counsel for the CCS Professionals’ offices were completely shut down from mid-

March until May 26 due to COVID-19, with mandatory work-from-home procedures in place.

         7.       Counsel for the CCS Professionals’ office estimates that the cost to print and mail to

Plaintiff the complete Department of Corrections medical records in paper would be $200 in printing

costs and $10 in postage.

         I declare under penalty of perjury that the foregoing is true and correct.



Dated: July 6, 2020                              By: Electronically signed by Ryan M. Wiesner
                                                    Ryan M. Wiesner




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